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 9
                                     UNITED STATES DISTRICT COURT
10
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                               OAKLAND DIVISION
12    IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY PRODUCTS                   MDL No. 3047
13
      LIABILITY LITIGATION
                                                           Case Nos. 4:22-md-03047-YGR-PHK
14    THIS DOCUMENT RELATES TO:
                                                                     4:23-cv-05448-YGR
15    People of the State of California, et al. v. Meta
      Platforms, Inc., et al.                                        4:23-cv-05885-YGR
16
      State of Florida, et al. v. Meta Platforms, Inc.                       4:24-cv-00805-YGR
17
      State of Montana, ex. rel. Austin Knudsen v. Meta         META DEFENDANTS’ OPPOSITION TO
18
      Platforms, Inc.                                           STATES’ ADMINISTRATIVE MOTION
19                                                              FOR STAY

20                                                              Judge: Hon. Yvonne Gonzalez Rogers
                                                                Magistrate Judge: Hon. Peter H. Kang
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 1           In rejecting most of the States’ merits argument, the Court noted that the States had litigated this
 2    issue in a burdensome way that delayed its prompt resolution. Through their stay motion, the States now
 3    seek even more delay. With six months now having been spent litigating this issue, they do not come
 4    close to meeting their burden to justify this delay: they fail to identify any irreparable injury, have not
 5    shown they are likely to succeed with their appeal, ignore the real harms to Meta and the case schedule
 6    from a stay, and raise unfounded public interest arguments that this Court (like others) has already rejected.
 7    Indeed, most of their motion is a rehash of their prior, rejected arguments. The Court should reject further
 8    delay. The States chose to bring suit in this Court to obtain the benefits of litigating here, and they should
 9    be held to the reasonable discovery standards that accompany that choice to sue.
10    I.     LEGAL STANDARD
11           A stay pending appeal “is not a matter of right, even if irreparable injury might otherwise result.”
12    Nken v. Holder, 556 U.S. 418, 433 (2009) (cleaned up). The moving party bears the burden of (1) making
13    “a strong showing” of likely success; (2) proving irreparable injury; (3) showing that the stay will not
14    “substantially injure” the other parties; and (4) showing that the public interest favors a stay. Id. at 434.
15   II.    ARGUMENT
16           A.      The States will not be irreparably injured by engaging in the ordered discovery.
17           The States fail to identify any cognizable injury—let alone an irreparable one. That alone justifies
18    denying their motion. See, e.g., Al Otro Lado v. Wolf, 952 F.3d 999, 1007, 1010 (9th Cir. 2020) (applicant
19    “must show that a stay is necessary to avoid likely irreparable injury . . . while the appeal is pending”).
20           “[D]iscovery can be burdensome. However, such a burden, while regrettable, does not constitute
21    an irreparable injury.” Nikon Corp. v. GlobalFoundries U.S., Inc., 2017 WL 4865549, at *2 (N.D. Cal.
22    Oct. 26, 2017). That is especially true here: (a) the materials Meta seeks are relevant, and the AGs have
23    made no showing to the contrary (and have not suggested any concrete narrowing of Meta’s requests to
24    date); (b) many AGs have already injected themselves into the third-party discovery they forced Meta to
25    undertake; and (c) two agencies have now argued that Meta should conduct the discovery through AGs.
26           None of the States’ arguments shows irreparable injury. First, this Court has rejected the States’
27    argument that the Order is “apt” to create conflicts between AGs and agencies. Dkt. 1117 at 21–28. So
28    have other courts. E.g., Illinois ex rel. Raoul v. Monsanto Co., 2023 WL 4083934, at *3 (N.D. Ill. June

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 1   20, 2023). Further, the States provide no evidence of any such conflict, and their speculation is not enough
 2   to justify a stay. See Al Otro Lado, 952 F.3d at 1007 (“possibility” of irreparable injury is insufficient;
 3   harm must be “likely”). The evidence that exists regarding any alleged conflicts between AGs and state
 4   agencies cuts the other way: despite many chances, no state agency appeared to represent itself in this
 5   dispute, and, while the views of one entity were belatedly shared with Judge Gonzalez Rogers, they were
 6   shared by the California AG’s Office. 9/13/24 CMC Tr. at 72:1–16. Many AGs represented the agencies
 7   even before the Order, confirming the lack of any conflict, and the States have already indicated they are
 8   ready to confer on a state-wide basis. And at least two agencies have responded to Meta’s pre-Order
 9   subpoenas by arguing that this Court’s Order moots that subpoena. See Simonsen Decl., Exs. A, B.
10          Next, the States argue that the discovery here is “substantial.” But contrary to the States’
11   assertions, their affirmative discovery obligations under federal law—the ordinary burdens of discovery—
12   do “not constitute an irreparable injury.” Nikon, 2017 WL 4865549, at *2. And by contrast to the more
13   than 770,000 documents Meta has already produced to the States, the 35 States have produced fewer than
14   15,000 documents total. Meta generally has sought discovery from the six to 10 agencies most likely to
15   have relevant information per state—hardly the crushing burden the States now claim, a burden the States
16   have failed to substantiate with evidence. Significantly, while this issue was still pending before this
17   Court (and fully aware of the discovery obligations they were facing), the States recently agreed that they
18   are able to progress the cases on a tight discovery timetable, without ever suggesting that their ability to
19   do so hinged on the outcome of this discovery issue, or disclosing that they would seek potentially
20   meaningful further delay through this stay motion. They should not be able to turn around and claim
21   irreparable injury now, simply because they apparently presumed an outcome the Court rightly rejected.
22          Finally, the States argue that they should not have to “divert their attention” to their discovery
23   obligations. Mot. 4. This naked argument for special treatment 1 has no foundation in the Federal Rules
24
     1
25      The States’ view that they should be treated differently from other litigants has already delayed this
     litigation. It is unclear whether the States would have completed their document requests and search term
26   demands yet had the Court not pressed them on their claim that they needed more time because of
     vacations and sabbaticals, 6/20/24 DMC Tr. at 32:7–11, even though it was over seven months since
27   discovery opened, five since they promised they were ready to proceed, and years since they began
28   (continued…)

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 1   or in any other standard of civil litigation. Any party to civil litigation would relish the opportunity to
 2   avoid “diverting its attention” to its discovery obligations so it could focus on the issues it prefers. But
 3   the rules of litigation require both parties to meet reasonable discovery standards, whether they are forced
 4   into litigation like Meta or they seek out a federal forum and bring a federal claim, as the States have done.
 5          B.      The States are unlikely to succeed on the merits.
 6          The States have failed to carry their burden on the merits. After multiple rounds of briefing and
 7   argument, the Court issued a considered opinion rejecting most of the States’ arguments. Federal courts
 8   applying a test like the Ninth Circuit test have held that, if the factors are met, state agencies are subject
 9   to party discovery in these circumstances. E.g., In re Generic Pharms. Pricing Antitrust Litig., 571 F.
10   Supp. 3d 406, 411 (E.D. Pa. 2021); Bd. of Educ. of Shelby Cnty. v. Memphis City Bd. of Educ., 2012 WL
11   6003540, at *3 (W.D. Tenn. Nov. 30, 2012). So did the only other court to consider this issue in a suit
12   against Meta by a state. Dkt. 882-1. By contrast, the federal cases relied on by the States (which the Court
13   already considered) did not apply the Ninth Circuit test. E.g., United States v. Am. Express Co., 2011 WL
14   13073683 (E.D.N.Y. July 29, 2011). The States largely rely on their objection brief to Judge Gonzalez
15   Rogers; Meta will respond on the timeline set, but notes for now that this Court rejected those arguments.
16   Judge Gonzalez Rogers has also noted to the AGs that “[t]he default is expect to lose this motion . . . .
17   There have been times when I have overruled a magistrate judge on a discovery issue, but I can tell you
18   in the almost 13 years that I have been here, it is few and far between.” See 9/13/24 CMC Tr. at 65:6–14.
19          The States also argue that this is an issue of first impression in this circuit. Mot. 3. First, that is
20   simply incorrect: a district court in this circuit rejected the States’ position. Washington v. GEO Group,
21   2018 WL 9457998, at *3 (W.D. Wash. Oct. 2, 2018). Further, as noted, federal courts applying the Ninth
22   Circuit test have agreed with this Court and disagreed with the States. The States’ case, by contrast,
23   involved an issue of first impression on a purely legal dispositive merits issue, unlike here with findings
24   reviewed for clear error. See Maxcrest Ltd. v. U.S., 2016 WL 6599463, at *2 (N.D. Cal. Nov. 7, 2016).
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27   investigating. Similarly, the States would largely not be preserving documents but for the Court ordering
     them to. The AGs are able to draw on 35 offices, just one of which employs over “5,600 lawyers,
28   investigators, sworn peace officers, and other employees.” https://oag.ca.gov/office (emphasis added).

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 1          Finally, the States argue that their appeal raises “constitutional questions,” but this Court has
 2   already rejected those arguments, as have other courts. Dkt. 1117 at 12–16; e.g., Monsanto, 2023 WL
 3   4083934, at *3. There is no reason to reconsider that holding. The States’ federalism arguments are
 4   particularly unconvincing because they chose to invoke a federal forum to seek relief under a federal
 5   statute and achieve the benefits of a multistate action in an MDL. In doing so, they have burdened the
 6   Court’s docket by forcing motions practice that required drafting a 248 page opinion over four months on
 7   an issue that had been previously settled by another court against many of them and that federal courts
 8   have repeatedly ruled on against states. Indeed, it is ironic that the States would rely on a purported
 9   “violat[ion of] the federalism principles at the heart of our federal constitutional system,” Mot. 3, when at
10   least one of them has threatened to disobey the Court’s order simply because it disagrees with it—a well-
11   established violation of core constitutional principles, see Cooper v. Aaron, 358 U.S. 1, 18–19 (1958).
12          C.      Meta would be prejudiced by a stay, as would the case schedule.
13          Meta will be meaningfully prejudiced if this discovery is delayed further, and doing so will
14   jeopardize the ability to complete Meta’s discovery into the States on the current case schedule. Meta
15   served this discovery in February 2024. This filing comes after the initial substantial completion deadline
16   for discovery and just months away from the extended deadline. To date, Meta has received far less than
17   bare-minimum discovery from the States. Further delays would impair the Parties’ ability to adequately
18   meet and confer over any disputes, not to mention Meta’s ability to adequately review the States’
19   productions in time to conduct depositions based on those documents. The States’ briefing ignores these
20   realities. The States should comply with their court-ordered discovery obligations without further delay.
21          While the States argue that Meta “has sought and received such discovery” through third-party
22   subpoenas, Mot. 4–5, that is false: the vast majority of States have not produced any discovery in response
23   to the subpoenas. In addition, as the Court’s order recognized, the burdens on Meta of negotiating with
24   hundreds of agencies (as opposed to each State providing discovery for the several agencies in that state)
25   are enormous. Dkt. 1117 at 40. More fundamentally, if the States will produce the discovery in response
26   to third-party subpoenas, that defeats their argument that they face irreparable injury from the Court’s
27   Order to do so. And, as noted, two agencies have already attempted to moot those subpoenas based on
28   the Court’s Order. The Court should reject the States’ attempt to have it both ways.

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 1           The States also argue that Meta “delayed” in seeking this discovery. That argument borders on
 2   sanctionable—a party may not adopt a losing stonewall position and then blame the other side for not
 3   accommodating their losing position. But it is also false. Meta raised the issue of producing responsive
 4   state agency documents through party discovery before serving any party discovery requests in February
 5   2024. When the States objected, Meta promptly litigated the issue with briefing in March. And as the
 6   Court considered the Parties’ submissions after the May 6 hearing, Meta began serving third-party
 7   subpoenas (despite the burden of doing so and the fact that, as the Court’s order confirmed, Meta should
 8   never have had to do so in the first place) to protect its rights and keep discovery on track.
 9           D.     The public interest supports denying a stay.
10           There is a public interest in the prompt execution of federal courts’ orders and in discovery
11   proceeding in an efficient and timely way—especially on a case schedule as rapid as this one. Cf. JW
12   Gaming Dev. v. James, 544 F. Supp. 3d 903, 922 (N.D. Cal. 2021) (“There is an undoubted, compelling
13   public interest in ensuring that valid judicial judgments are enforced.”). The public interest supports
14   enforcing the Court’s Order, not further delaying discovery served more than six months ago. And the
15   public interest supports allowing individuals and entities faced with the threat of government lawsuits
16   brought with the authority of entire states to have fair and reasonable discovery into those states. League
17   of United Latin Am. Citizens v. Abbott, 2022 WL 1540589, at *3 (W.D. Tex. May 16, 2022) (“Texas’s
18   position is also impractical. It would effectively mean that the [opposing party] could obtain only a
19   minuscule portion of the universe of relevant documents by party discovery.”).
20           The States fail to advance any public interest in a stay. They vaguely gesture at the “vindication
21   of the rights and protections afforded by consumer protection laws,” “proper functioning of state
22   government,” and “principles of federalism.” Mot. 5. But those unsupported statements simply rehash
23   arguments the Court has already rejected, see supra II.A.–B., and are nothing more than a request to avoid
24   the obligations of the litigation they chose to bring.
25   III.    CONCLUSION
26           For the reasons set forth above, Meta respectfully requests that the Court deny the motion to stay.
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